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                          UNITED STATES DISTRICT COURT

                        DISTRICT OF MINNESOTA
______________________________________
                                                                Case No. ____________

Joel Smith and John Nesse and any
successors as Trustees of the Minnesota
Laborers Health and Welfare Fund, Joel Smith
and Daniel Shoemaker and any successors
as Trustees of the Minnesota Laborers
Pension Fund, Joel Smith and Heather
Grazzini and any successors as Trustees of
the Minnesota Laborers Vacation Fund, Fred
Chase and Joe Fowler and any successors as
Trustees of the Construction Laborers’
Education, Training, and Apprenticeship Fund
of Minnesota and North Dakota, Dave Borst
and Mark Ryan, and any successors as
Trustees of the Minnesota Laborers                                           COMPLAINT
Employers Cooperation and Education Trust,
or any successors, the Minnesota Laborers
Health and Welfare Fund, the Minnesota
Laborers Pension Fund, the Minnesota
Laborers Vacation Fund, the Construction
Laborers’    Education,     Training,    and
Apprenticeship Fund of Minnesota and North
Dakota, and the Minnesota Laborers
Employers Cooperation and Education Trust,

       Plaintiffs,

vs.

Pelland - Swenson & Assoc. LLC,

      Defendant.
______________________________________

      Plaintiffs, as their Complaint against the Defendant, state and allege as follows:

                     IDENTITY OF PARTIES, JURISDICTION, VENUE

      1.      Plaintiffs are Trustees of the Minnesota Laborers Health and Welfare Fund,

the Minnesota Laborers Pension Fund, the Minnesota Laborers Vacation Fund, the
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Construction Laborers’ Education, Training, and Apprenticeship Fund of Minnesota and

North Dakota, and the Minnesota Laborers Employers Cooperation and Education Trust

(“Funds”).

       2.      The Funds are multi-employer jointly-trusteed fringe benefit plans created

and maintained pursuant to § 302(c)(5) of the Labor Relations Management Act of 1974

(“LMRA”), as amended, 29 U.S.C § 186(c)(5). The Funds are administered in accordance

with the provisions of the Employee Retirement Income Security Act of 1974 (“ERISA”),

as amended 29 U.S.C. § 1001, et seq. The Funds are exempt from federal income

taxation pursuant to the Internal Revenue Code.

       3.      Defendant Pelland - Swenson & Assoc. LLC is a Minnesota limited liability

corporation with a registered address 324 Industrial Avenue, International Falls,

Minnesota 56649. Defendant is an employer within the meaning of Section (3)(5) of

ERISA, 29 U.S.C. § 1002(5).

       4.      This is an action by the Funds’ Trustees as fiduciaries to collect unpaid

fringe benefit contribution payments. Subject matter jurisdiction over this controversy,

therefore, is conferred upon this Court, without regard to the amount in controversy by

ERISA § 502(e)(1), 29 U.S.C. § 1132(e)(1); ERISA § 502(f), 29 U.S.C. § 1132(f), ERISA

§ 502(a)(3), 29 U.S.C. § 1132(a)(3); and ERISA § 515, 29 U.S.C. § 1145. Subject matter

jurisdiction is also conferred by LMRA § 301, 29 U.S.C. § 185 and the federal common

law developed thereunder.

       5.      The Funds are administered in Dakota County, Minnesota, therefore,

venue is proper in this court pursuant to ERISA § 502(e)(2), 29 U.S.C. § 1132(e)(2).
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                                        FACTS

       6.      The Funds re-allege and incorporate by reference paragraphs 1-5 herein.

      7.       Since at least February 20, 2018, Defendant has been bound to the terms

of a collective bargaining agreement negotiated between the Northern Minnesota

Contractors Association and the Laborers’ District Council of Minnesota and North Dakota

on behalf of its affiliated Unions (“CBA”), with a term of May 1, 2017 through April 30,

2020 which is incorporated herein by reference.

      8.       Defendant is bound to the CBA through at least April 30, 2021.

       9.      The CBA provides that Defendant is bound to the Trust Agreement for each

of the following:   the Minnesota Laborers Health and Welfare Fund, the Minnesota

Laborers Pension Fund, the Minnesota Laborers Vacation Fund, the Construction

Laborers’ Education, Training, and Apprenticeship Fund of Minnesota and North Dakota,

and the Minnesota Laborers Employers Cooperation and Education Trust. Each of these

Trust Agreements are incorporated herein by reference.

       10.     The CBA requires Defendant to maintain adequate records to identify the

type of work being performed by its employees to allow the Funds to determine whether

it is accurately reporting CBA-covered work hours to the Funds including

contemporaneously accurate documentation showing what employees performed what

CBA-covered work on what projects for what hours on what given date, i.e., the

information typically maintained on timecards.

       11.     Independent of the CBA, 29 U.S.C. § 1059 requires employers such as

Defendant to maintain and preserve contemporaneously accurate documentation
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showing what employees performed what CBA-covered work on what projects for what

hours on what given date.

       12.    The CBA requires Defendant to contribute every month, not later than the

15th day of the following month, contributions to the Funds in an amount set forth in the

CBA for each hour worked by employees covered by the CBA.

       13.    The CBA requires Defendant to accurately report and calculate the

contributions due and owing in any given month to the Funds on a remittance report form

which must be submitted with Defendant’s monthly payment to the Funds.

       14.    The CBA states that Defendant shall be considered delinquent for a

particular month if the required report and payment are not postmarked on or before the

15th day of the following month.

       15.    If Defendant fails to maintain satisfactory records from which the type of

work being performed by an individual may reasonably be determined, Defendant is liable

for all of the hours worked by that individual for whom Defendant is unable to produce

satisfactory records verifying the type of work being performed by that individual.

       16.    The CBA prohibits Defendant from subcontracting any work covered by the

CBA to any person, firm, or corporation which is not in a contractual relationship with the

Laborers International Union of North America or any its affiliated Local Unions.

       17.    The CBA state that if Defendant becomes delinquent, Defendant shall be

required to pay as liquidated damages an amount equal to 10% of the payment otherwise

due.
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       18.    The CBA states that if Defendant becomes delinquent, Defendant shall be

required to pay interest on all delinquent contributions at the rate prescribed by the

Trustees of the Funds in the Trust Agreements.

       19.    The CBA states that delinquent employers shall be required to pay all costs

of collection actually incurred by the Funds, including all attorneys’ fees, service fees,

filing fees, court reporter fees, and all other fees, costs, and disbursements incurred by

or on behalf of the Funds in collecting amounts due.

                              COUNT I
         BREACH OF CONTRACT/FAILURE TO SUBMIT CONTRIBUTIONS

      20.     The Funds re-allege and incorporate by reference paragraphs 1-19 herein.

      21.     Defendant breached the terms of the CBA by failing to timely submit the

remittance reports for the period of January through May 2020.

      22.     Upon information and belief, Defendant employed individuals performing

work covered by the CBA after December 31, 2019 and continues to do so.

      23.     Every month, until this matter is resolved either through dismissal or

judgment, Defendant will be obligated to remit fringe fund report forms as described

above as required by the CBA and will be required to remit payment for the fringe benefit

contributions due pursuant to the hours disclosed.

      24.     If Defendant fails to remit contribution report forms on the 15th day of the

month following the month in which work was performed during the pendency of this

litigation, the Funds will not have an adequate means of verifying the proper amounts due

and owing to the Funds, nor will the Funds have adequate means of ascertaining the

proper allocation of such contributions to Defendant’s employees.
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      25.     In the absence of this Court's order as requested, the Funds are without

adequate remedy at law and will be subject to irreparable harm.

      26.     Defendant should be enjoined from further refusal and failure to remit

reports and contributions.

      27.     Defendant is liable to the Funds for the CBA-obligated fringe benefit

amounts for all hours worked by its employees for whom Defendant is unable to produce

satisfactory records verifying the type of work performed by any such individuals.

      28.     Pursuant to the CBA, Defendant is liable to the Funds for all attorney fees,

service fees, filing fees, court reporter fees and other legal costs and disbursements

incurred by the Funds in enforcing their rights and collecting the amounts due.

      29.     Defendant is liable to the Funds for liquidated damages in the amount of

ten percent of the unpaid contributions and interest charges on the unpaid contributions

due and owing for the period of January through May 2020 and any other month that

becomes due and owing during the pendency of this litigation pursuant to the CBA.

                                       COUNT II
                                   ERISA DAMAGES

      30.    The Funds re-allege and incorporate by reference paragraphs 1-29 herein.

      31.     The Funds are entitled to liquidated damages or double interest charges

on any amounts found to be due and owing under ERISA § 502(g), 29 U.S.C. § 1132(g).

      32.     The Funds are entitled to attorneys’ fees and costs incurred in this action

under ERISA § 502, 29 U.S.C. § 1132.

      33.     The Funds are entitled to interest under ERISA § 502, 29 U.S.C. § 1132.
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                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs demand judgment of this Court against Pelland -

Swenson & Assoc. LLC as follows:

        1.        For an order requiring Defendant to submit to Plaintiffs all reports or

calculations for contributions accurately and completely identifying all hours worked by its

employees for the period of January through May 2020.

        2.        For an order requiring Defendant to submit to Plaintiffs all reports or

calculations for contributions which become due throughout the pendency of this litigation,

accurately and completely identifying all hours worked by its employees.

        3.        For judgment for amounts to be proven at trial for delinquent contributions

shown to be owing pursuant to those calculations, plus all additional amounts to which

the Plaintiffs are entitled, including interest and liquidated damages.

        4.        For an award of costs, disbursements and attorney fees according to law.

        5.        Such other and future relief as the Court deems just, equitable or proper.

Date: September 9, 2020                      MCGRANN SHEA CARNIVAL
                                             STRAUGHN & LAMB, CHARTERED


                                             By:     s/ Amy L. Court
                                                     Carl S. Wosmek (Atty. No. 300731)
                                                     Amy L. Court (Atty. No. 319004)
                                                     Christy E. Lawrie (Atty. No. 388832)
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